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2
                          UNITED STATES DISTRICT COURT
3
                         EASTERN DISTRICT OF WASHINGTON
4
5      UNITED STATES OF AMERICA,              )
                                              )     NO. CR-12-084-RHW-3
6                       Plaintiff,            )
                                              )     ORDER DENYING BAIL REVIEW
7           v.                                )     MOTION (Ct. Rec. 102)
                                              )
8      ERIC PELTIER,                          )
                                              )
9                       Defendant.            )
                                              )
10
11
12         The court, conducted a bail review hearing on September 10,

13 2012.
14         Judge Imbrogno previously ruled that Defendant’s release would

15 be considered if an opening at a lock-down treatment facility was
16 available.
17         After considering the proffers of the parties and the

18 recommendation of U.S. Probation, and based on Defendants mental
19 health and drug issues, his past non-compliance with pretrial
20 release conditions and there being no opening at a lock-down
21 treatment facility, the Court DENIED Defendant’s Motion for
22 Reconsideration (Ct. Rec. 102) and ordered that Defendant continue
23 to remain in custody of the U.S. Marshal.
24         IT IS SO ORDERED.

25         DATED this 10th day of September, 2012.

26
                                                     s/ James P. Hutton
27                                                      JAMES P. HUTTON
                                                  United States Magistrate Judge
28

      ORDER DENYING BAIL REVIEW MOTION
